rad
aR)

a

RN ee nn en ees
ree Pt rer am alle

one
ae e

zs
n
c

Roc

ered

eee ay ee waa

RCM are cteie Pee
et ee i hearer rae

PAR eae ee
Pron ct ene po eur ee ee rao)

Rex:
ad

iy
a

7
CaN -

aa nae th
Ra) MANNY oo

Pree Seo VY ae oe rN Elo ian

Pea Aa

we SS td
kia ,
Tc a ad hal ate! cts ag a
Pere Rai re eel al -
ee YZ ,
pars — ; ) i

Tn alae
Beal

WO Olina
pe ad -

eet ey Rear

eee

se eo eae pets:

en.) i
Meer a me

Pre ad

Pre Manel .

Cad Ea

ed

Perea d

AL uculee dal
Saas yt

Real Pe
- NY ech eee
a EE on

iY

rs
i : Cae
a oe one, a a 4
| pas ' as
i ‘ i
1
7 i o? Seo | | |
, a any as | i
a ae s 7 a a nn | |
i 7 4 EF . _ | | |
cee ae 7 ; | | :
. | , a — er ae rea

of
if
a
iu
i
iu

i ects) ae

y

ee
Vey,

yi Wa - .
’ i
f

i

Rl
a

RY Ce

cea

i
ni
i
i

itera oemteiitied

as a

ie a Pe ] R ia 7 os

i

ee ers

tue a

ae mands

aa

_~

by NE Wl

rae oe a : a i ae eee eee a “_ —

a a .
i ae, /
ae 4 - rae vA

i a

se peer
NS
a) fan

Se

t

ca
oe
ot ae

5 ea

